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                                       No. 23-1380

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT

                          Rocky Mountain Gun Owners, et al.,
                                Plaintiffs-Appellants,

                                            v.
                          Jared S. Polis, in his official capacity
                          as Governor of the State of Colorado,
                                  Defendant-Appellee,


                    Appeal from the United States District Court
                            for the District of Colorado
                    No. 1:23-cv-2563-JLK (Hon. John L. Kane)


             Appellants’ Response to Appellee’s Supplemental Brief


                                Oral Argument Requested


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 I.     The plain text of the Second Amendment covers the right to possess and receive
        firearms.

        In United States v. Rahimi, the Supreme Court had little trouble reaching the merits

 with respect to 18 U.S.C. §922(g)(8), which targets possessing or receiving a firearm. 602

 U.S. ----, 144 S. Ct. 1889 (2024). And just like § 922(g), Colorado’s Waiting Period Act

 temporarily prevents individuals from possessing or receiving their firearms.

        To dodge this clear conclusion, Appellee attempts to insert a limitation into the plain

 text analysis by arguing that the plain text “does not confer a right to immediately acquire

 firearms.” Appellee’s Suppl. Br. 5. But that is a red herring, and more appropriately

 considered an argument about the merits of Appellants’ claims. (Otherwise Step 1 and Step

 2 of Bruen would collapse into a single question of whether the Second Amendment

 conferred a certain right on an individual). Because the Second Amendment protects the

 act of possessing and receiving arms, that is the end of the plain-text analysis. Otherwise,

 Appellee could chip away at Bruen by always narrowly characterizing the right at issue.

 As the Court wrote in Rahimi, Bruen’s Step 2 applies to all “firearms regulations.”

        Doctrinally, there is no escaping this conclusion. In Heller, for instance, the Court

 explained that it would “begin our textual analysis,” 554 U.S. at 578, “[b]efore turning to

 limitations upon the individual right.” Id. at 595 (emphasis added). It was thus only after

 the Court concluded that the “textual elements” cover the “right to possess and carry

 weapons,” id. at 592, that the Court considered whether the limitations imposed by the

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 regulations—i.e., the ban on “handgun possession in the home” and the “require[ment] that

 any lawful firearm in the home be disassembled or bound by a trigger lock,” id. at 628—

 were historically justified.

        Similarly, in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 24

 (2022), the Court moved quickly through the plain-text analysis. It determined that the

 petitioners, as “two ordinary, law-abiding, adult citizens—are part of ‘the people,’” id. at

 31, that handguns are protected arms, id. at 32, and that the “definition of ‘bear’ naturally

 encompasses public carry.” Id. The Court then “turn[ed] to respondents’ historical

 evidence” to consider limitations on that right. Id. at 34.

        The Supreme Court’s precedents require that this Court consider in the plain-text

 analysis only whether the text covers the possession of bearable arms by law-abiding

 citizens. Any limitation on that conduct—including a law prohibiting that conduct for three

 days—must be justified with historical tradition in the historical analysis.

 II.    The Waiting Period Act is not a commercial regulation, and there is nothing
        “presumptive” about its lawfulness.

        Appellee relies on dicta in Heller to support the contention that the Waiting Period

 Act is presumptively lawful because it merely “impos[es] conditions and qualifications on

 the commercial sale of firearms.” Heller, 554 U.S. at 626–27. But the Waiting Period Act

 is not truly part of any commercial transaction. It is not a “condition” on whether a firearms

 dealer may sell a firearm. It has nothing to do with the “qualifications” of a firearms dealer

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 to sell firearms. It serves no commercial purpose, and the Colorado Legislature offered

 none. The Act merely targets the “transfer” of a firearm to a customer after a purchase, not

 the underlying sale of that firearm. As previously noted, Appellee emphasizes that the

 benefit of the Waiting Period Act is to reduce impulsive gun violence by the purchaser—

 not a need for merchants to have more time to conduct background checks or engage in

 other relevant commercial activity related to the transaction.

        For this reason, the waiting period is nothing more than an overly broad and

 constitutionally infirm law that Appellee is attempting to pass off as a commercial

 regulation. But what commercial purpose does it serve to force a gun dealer to wait three

 days to transfer a firearm to an individual who has already passed a background check?

 None. Instead, this law is simply an effort to make an end-run around the Second

 Amendment.

        In 2021, the Fourth Circuit rejected a similar effort by the federal government to

 portray prohibitions on the sale of handguns to 18–20-year-olds as being presumptively

 lawful conditions on commercial sales. “A condition or qualification on the sale of arms

 [by sellers] is a hoop someone must jump through to sell a gun, such as obtaining a license,

 establishing a lawful premise, or maintaining transfer records.” Hirschfeld v. Bureau of

 Alcohol, Firearms, Tobacco & Explosives, 5 F.4th 407, 416 (4th Cir. 2021) (vacated as

 moot, 34 F.4th 322). By contrast, restrictions that operate as a flat bar on a purchaser’s

 right to obtain a gun are not “conditions and qualifications on the sale of arms.”
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        But even if the Waiting Period Act is determined to be a commercial regulation, it

 still must survive the Bruen analysis—Appellee still must establish that the law is

 consistent with this Nation’s historical tradition. See Bruen, 597 U.S. at 17, 24; Rahimi,

 144 S. Ct. at 1896. As previously noted, the Supreme Court has never articulated an

 exception to the requirement that a historical analogue be established for those regulations

 deemed “presumptively lawful” in Heller. Instead, the Court has expressly stated that “a

 court [may] conclude that the individual’s conduct falls outside the Second Amendment’s”

 scope “[o]nly if a firearm regulation is consistent with this Nation’s historical tradition.”

 Bruen, 597 U.S. at 17. This was reaffirmed in Rahimi without any categorical exceptions

 being listed. Rahimi, 144 S. Ct. at 1896.

 III.   The intoxication laws that Appellee proffers as a historical analogue are not
        “relevantly similar” to the Waiting Period Act.

        There is no historical tradition—either at the time of the Founding or

 Reconstruction—consistent with firearms being regulated in this manner. Despite

 Appellee’s best efforts to fit the square peg of the Waiting Period Act into the round hole

 of intoxication laws, the simple fact is that they are not analogous in any way. “A court

 must ascertain whether the new law is ‘relevantly similar’ to laws that our tradition is

 understood to permit, ‘apply[ing] faithfully the balance struck by the founding generation

 to modern circumstances.’” Rahimi, 602 U.S. ----, 144 S. Ct. at 1898 (quoting Bruen, 597

 U.S. at 29).

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           Appellee asserts that the Founding era intoxication laws “sought to curb the

 impulsive use of firearms,” and is thus analogous to the Waiting Period Act. Appellee’s

 Suppl. Br. 8. But this is a failed analogy. The intoxication laws applied only to those who

 were drunk, and only for as long as they were under the influence of alcohol. And the

 reasoning behind the intoxication laws was much more than impulsivity—even the most

 cautious of purchasers should not handle a deadly weapon when their senses are dulled by

 liquor.

           The Waiting Period Act, however, applies to everyone—even though there is no

 common condition that they all share that would make them any more prone to impulsivity

 than anyone else. There is simply nothing “relevantly similar” about these laws, the

 individuals impacted by them, or the underlying conduct they are intended to control.

 IV.       The Waiting Period Act is unconstitutional both on its face and as applied.

           Plaintiffs challenge the Waiting Period Act both on its face and as applied.

 Complaint (ECF No. 1 at 7). Regarding the facial challenge, Appellee alleges that the

 Appellants’ case fails because they cannot show that the Waiting Period Act is

 unconstitutional in all its applications. In support of this contention, Appellee relies on the

 Rahimi decision. But Rahimi is distinguishable on this front because it dealt with the

 constitutionality of a federal statute—18 U.S.C. §922(g)(8)—which allows for the

 disarmament of specific individuals who, after notice and a hearing, are determined to

 “pose a credible threat to the physical safety of others.” Rahimi, 602 U.S. ----, 144 S. Ct.
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 at 1896. In upholding §922(g)(8), the Supreme Court held that—at least as it applied to

 Mr. Rahimi, who a court had previously determined posed a threat to others—the law was

 relevantly similar to Founding era surety laws and restrictions on “going armed.” Id. at

 1901.

         But whereas §922(g)(8) applies to a specific and very limited group of people

 determined after notice and a hearing to pose a threat to the safety of others, the Waiting

 Period Act applies to everyone, without any notice or opportunity to be heard, and without

 any requirement that the state produce even an iota of evidence of impulsivity. 1

         Because it applies generally and does not make any effort to distinguish between

 the cautious and the impulsive, the Waiting Period Act is unconstitutional in all of its

 applications.

                                         Conclusion

         For these reasons, and for the reasons stated in Appellants’ previous briefs, the

 Waiting Period Act remains a clear unconstitutional burden on the rights of law-abiding

 Coloradans, and this Court should enter an injunction against it.


 1 Nor would Appellee be able to defeat a facial challenge merely by pointing to

 a single individual for whom the application of a law would accidentally be non-
 injurious. A facial challenge to a law banning all seditious speech does not fail
 because it would be constitutional as applied to mutes. Nor would a facial
 challenge to a law banning all firearms fail because it would constitutionally
 apply to prisoners in jail. Facial challenges address the ordinary application of
 a law, not extremes.

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 DATED this 7th day of August 2024.

                                      Respectfully submitted,

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                                Certificate of Compliance

       This supplemental response brief complies with the Court’s July 3, 2024, Order

 allowing for supplemental response briefing by the parties of no more than seven pages. It

 also fulfills the requirements of the Fed. R. App. P. 27(d)(1) and 32 and Circuit Rule 32

 because this motion has been prepared in a proportionally spaced typeface using Microsoft

 Word in 13-point Times New Roman font. It contains 1,473 words.

 DATED this 7th day of August 2024:

                                                 /s/ Michael D. McCoy
                                                 Michael D. McCoy




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         In accordance with this Court’s CM/ECF User’s Manual and Local Rules, I hereby

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  7th, 2024, and is free of viruses according to that program.

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  electronic version of this document is an exact copy of the written document to be filed

  with the Clerk.

  DATED this 7th day of August 2024.

                                                   /s/ Michael D. McCoy
                                                   Michael D. McCoy




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                                    Certificate of Service

          I certify that on August 7, 2024, I caused the foregoing to be filed through the

  Court’s CM/ECF system, with the Clerk of the Court for the United States Court of Appeals

  for the Tenth Circuit through the Court’s CM/ECF system. I certify that all participants in

  the case who are registered CM/ECF users will be served by the appellate CM/ECF system

  and that a PDF copy of this motion will be emailed to opposing counsel immediately after

  it is filed.

  DATED this 7th day of August 2024.


                                                   /s/ Michael D. McCoy
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